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               IN THE UNITED STATES DISTRICT COURT FOR
                  THE SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION




UNITED STATES OF AMERICA,


                                                 Case No.     CR417-208


SHAUNTE STAFFORD,


                  Defendant,




UNITED STATES OF AMERICA,


                                                 Case No.     CR417-229


JAMAL HENDERSON,                                     U. S. DISTRICT COURT
                                                     Southern District of GA
                  Defendant,                               Filed In Office
                                                                     ■       M
                                                                 1QE5L26:
                                 ORDER                     Depmy Clerk

     Lynne M. Fleming, counsel of record for defendants in the

above-styled cases, has moved for leave of absence.               The Court is

mindful that personal and professional obligations require the

absence   of    counsel   on   occasion.   The    Court,     however, cannot

accommodate its schedule to the thousands of attorneys who practice

within the Southern District of Georgia.

     Counsel may be absent at the times requested. However, nothing

shall prevent these cases from going forward; all discovery shall
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proceed, status conferences, pretrial conferences, and        trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.


     SO ORDERED this                of October 2017.




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                                 HONORABLE WILLIAM p". MOORE, JR.
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA
